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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 14-cv-20880-UU

  RICHARD THORPE AND DARREL WEISHEIT, et al.,

          Plaintiffs,

  v.

  WALTER INVESTMENT MANAGEMENT CORP., et al.,

        Defendants.
  __________________________________________________/

                                                ORDER

          PURSUANT to 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules of the

  Southern District of Florida, the above-captioned Cause is referred to United States Magistrate

  Judge ALICIA M. OTAZO-REYES to take all necessary and proper action as required by law

  with respect Plaintiff’s Motion for Distribution of Funds (D.E. 166). Pursuant to this referral

  order, it is also

          ORDERED AND ADJUDGED that it shall be the responsibility of the respective parties

  in this case to note that courtesy copies of all materials necessary to the resolution of the referred

  matter shall be directed to the magistrate judge’s chambers.

          DONE AND ORDERED in Chambers at Miami, Florida, this 22d__ day of February,

  2018.



                                                        _______________________________
                                                        UNITED STATES DISTRICT JUDGE
  cc:
  counsel of record via cm/ecf
  Magistrate Judge Alicia M. Otazo-Reyes
